Case 1:20-cv-20494-UU Document 1 Entered on FLSD Docket 02/03/2020 Page 1 of 12



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                                            CASE NO.:

 WINDY LUCIUS,

        Plaintiff,

 v.

 TEXAS ROADHOUSE, INC.,

       Defendant.
 __________________________________/

                          COMPLAINT FOR INJUNCTIVE RELIEF

        Windy Lucius, (“Plaintiff”) by and through her undersigned counsel, hereby files this

 complaint and sues Defendant, TEXAS ROADHOUSE, INC., a foreign corporation doing

 business in Florida, and alleges as follows:

                                         INTRODUCTION

        1.      Plaintiff Windy Lucius brings this action individually against TEXAS

 ROADHOUSE, INC., (“Defendant”), alleging violations of Title III of the Americans with

 Disabilities Act, 42 U.S.C. § 12101 et seq., (hereinafter, “ADA”).

        2.      Plaintiff has been blind for the past nine years. She uses the internet to help her

 navigate a world of goods, products and services like the sighted. The internet, websites and

 mobile applications provide her a window into the world that she would not otherwise have. She

 brings this action against Defendant for offering and maintaining a mobile application (software

 that is intended to run on mobile devises such as phones or table computers) that is not fully

 accessible and independently usable by visually impaired consumers. The mobile application

 (“app”) at issue is available through the Apple “app store” for download and installation on Apple
Case 1:20-cv-20494-UU Document 1 Entered on FLSD Docket 02/03/2020 Page 2 of 12



 devices. Defendant developed the app and made it available to millions of phone and tablet users

 in the Apple app store.

        3.      Plaintiff is also an advocate of the rights of similarly situated disabled persons and

 is a “tester” for the purpose of asserting her civil rights and monitoring, ensuring, and determining

 whether places of public accommodation and/or their websites are in compliance with the ADA.

        4.      Defendant offers its app to the general public from which it sells food; provides a

 menu of items served in the restaurant; restaurant location(s) and amenities at the restaurant.

 Defendant’s app allows mobile device users to shop on a mobile platform through a connection to

 Wi-Fi or cellular data so that users can make purchases, locate stores, and explore product offerings

 on the go. As such, it has subjected itself to the ADA because Defendant’s app is offered as a tool

 to promote, advertise and sell its food from its brick and mortar locations, which are places of

 public accommodation. As a result, the app must interact with Defendant’s stores and the public,

 and in doing so must comply with the ADA, which means it must not discriminate against

 individuals with disabilities and may not deny full and equal enjoyment of the goods and services

 afforded to the general public.

        5.      Blind and visually impaired consumers must use the assistive technology on the

 iPhone to access app content. The app must be designed and programmed to work with the assistive

 technology available on the iPhone. Defendant’s app, however, contains digital barriers which

 limit the ability of blind and visually impaired consumers to access it, even with Apple’s assistive

 technology.

        6.      Defendant’s app does not properly interact with Apple’s assistive technology in a

 manner that will allow the blind and visually impaired to enjoy the app, nor does it provide other

 means to accommodate the blind and visually impaired.



                                                  2
Case 1:20-cv-20494-UU Document 1 Entered on FLSD Docket 02/03/2020 Page 3 of 12



         7.      Plaintiff has been a customer at Defendant’s brick and mortar locations. Plaintiff

 has also downloaded and attempted to patronize Defendant’s app in the past and intends to

 continue to make further attempts to patronize Defendant’s app. She would like to be able to learn

 about Defendant’s menu items online, explore nutritional information as well as be able to learn

 about and take advantage of, any specials or discounts offered by Defendant. However, unless

 Defendant is required to eliminate the access barriers at issue and is required to change its policies

 so that access barriers do not reoccur on Defendant’s app, Plaintiff will continue to be denied full

 and equal access to the app as described and will be deterred from fully using Defendant’s app or

 making purchases at the physical locations.

         8.      Plaintiff continues to attempt to utilize the app and/or plans to continue to attempt

 to utilize the app in the near future. In the alternative, Plaintiff intends to monitor the app in the

 near future, as a tester, to ascertain whether it has been updated to interact properly with screen

 reader software.

         9.      Plaintiff is continuously aware of the violations at Defendant’s app and is aware

 that it would be a futile gesture to attempt to utilize the app as long as those violations exist unless

 she is willing to suffer additional discrimination.

         10.     Plaintiff has suffered, and continues to suffer, frustration and humiliation as the

 result of the discriminatory conditions present at Defendant’s app. By continuing to operate its app

 with discriminatory conditions, Defendant contributes to Plaintiff’s sense of isolation and

 segregation and deprives Plaintiff the full and equal enjoyment of the goods, services, facilities,

 privileges and/or accommodations available to the general public. By encountering the

 discriminatory conditions at Defendant’s app, and knowing that it would be a futile gesture to

 attempt to utilize the app unless she is willing to endure additional discrimination, Plaintiff is




                                                    3
Case 1:20-cv-20494-UU Document 1 Entered on FLSD Docket 02/03/2020 Page 4 of 12



 deprived of the meaningful choice of freely visiting and utilizing the same accommodations readily

 available to the general public and is deterred and discouraged from doing so. By maintaining an

 app with violations, Defendant deprives Plaintiff the equality of opportunity offered to the general

 public.

           11.   Plaintiff has suffered and will continue to suffer direct and indirect injury as a result

 of the Defendant’s discrimination until the Defendant is compelled to comply with the

 requirements of the ADA.

           12.   Plaintiff has a realistic, credible, existing and continuing threat of discrimination

 from the Defendant’s non-compliance with the ADA with respect to this app as described above.

 Plaintiff has reasonable grounds to believe that she will continue to be subjected to discrimination

 in violation of the ADA by the Defendant. Plaintiff desires to access the app to avail herself of the

 benefits, advantages, goods and services therein, and/or to assure herself that this app is in

 compliance with the ADA so that she and others similarly situated will have full and equal

 enjoyment of the app without fear of discrimination.

           13.   The ADA expressly contemplates the type of injunctive relief that Plaintiff seeks in

 this action. The ADA provides, in part:

                 [i]n the case of violations of . . . this title, injunctive relief shall include an
                 order to alter facilities to make such facilities readily accessible to and
                 usable by individuals with disabilities . . . Where appropriate, injunctive
                 relief shall also include requiring the . . . modification of a policy . . .

 42 U.S.C. § 12188(a)(2).

           14.   Therefore, Plaintiff seeks a declaration that Defendant’s app violates federal law

 as described and an injunction requiring Defendant to modify its app so that it is fully accessible

 to, and independently usable by, blind or visually impaired individuals. Plaintiff further requests

 that the Court retain jurisdiction of this matter for a period to be determined to ensure that



                                                     4
Case 1:20-cv-20494-UU Document 1 Entered on FLSD Docket 02/03/2020 Page 5 of 12



 Defendant comes into compliance with the requirements of the ADA and to ensure that

 Defendant has adopted and is following an institutional policy that will, in fact, cause

 Defendant’s app to remain in compliance with the law.

                                    JURISDICTION AND VENUE

        15.     This Court has federal question jurisdiction pursuant to 28 U.S.C. §1331 and 42

U.S.C. § 12188.


        16.     Plaintiff’s claims asserted herein arose in this judicial district and Defendant does

substantial business in this judicial district where it has multiple physical locations.

        17.     Venue in this judicial district is proper under 28 U.S.C. § 1391(b)(1) and (2) in that

this is the judicial district in which Defendant resides, and in which a substantial part of the acts

and omissions giving rise to the claims occurred.

        18.     This Court has personal jurisdiction over TEXAS ROADHOUSE, INC. pursuant

to, inter alia, Florida’s long arm statute F.S. § 48.193, in that Defendant: (a) operates, conducts,

engages in, and/or carries on a business or business ventures (s) in Florida and/or has an office or

agency in Florida; (b) has committed one or more tortious acts within Florida; (c) was and/or is

engaged in substantial and not isolated activity within Florida; and/or (d) has purposely availed

itself of Florida’s laws, services and/or benefits and therefore should reasonably anticipate being

hailed into one or more of the courts within the State of Florida.

                                              PARTIES

        19.     Plaintiff, Windy Lucius, is and, at all times relevant hereto, was a resident of the

 State of Florida, Miami-Dade County. Plaintiff is and, at all times relevant hereto, has been legally

 blind and is therefore a member of a protected class under the ADA, 42 U.S.C. § 12102(2) and the

 regulations implementing the ADA set forth at 28 CFR §§ 36.101 et seq.



                                                    5
Case 1:20-cv-20494-UU Document 1 Entered on FLSD Docket 02/03/2020 Page 6 of 12



         20.     Defendant TEXAS ROADHOUSE, INC. owns, operates and maintains a restaurant

 called TEXAS ROADHOUSE, in Miami-Dade County, Florida either through franchisees,

 affiliates, partners or other entities. Defendant’s restaurant sells food and other goods to the public.

 Defendant also offers those items to the public through its app. Defendant’s store and

 accompanying app work collectively and are public accommodations pursuant to 42 U.S.C. §

 12181(7)(E).

                                                FACTS

         21.     Defendant owns, operates and controls an app from which it sells food and other

 goods. The app allows customers to order ahead and take advantage of certain specials only

 available through the app. The Plaintiff must go to corresponding brick and mortar restaurants to

 pick up the food she can pre-order from the app. Defendant’s app also helps users locate stores,

 view pricing and specials, shop for food, and a variety of other functions. Plaintiff has dined with

 Defendant and enjoys the food it sells.

         22.     Defendant’s app is a nexus to a place of public accommodation pursuant to 42

 U.S.C. § 12181(7)(E). Therefore, under the ADA, Defendant must ensure that individuals with

 disabilities have access to full and equal enjoyment of the goods and services offered on its app.

         23.     Blind and visually impaired individuals may access apps by using accessibility

 features in conjunction with screen reader software that converts text to audio. Screen reader

 software provides the primary method by which a visually impaired person may independently use

 the internet. Unless the app is designed to be accessed with screen reader software, visually

 impaired individuals are unable to fully access app and the information, products, and services

 available through the app.

         24.     The international app standards organization, W3C, has published WCAG 2.1 A




                                                    6
Case 1:20-cv-20494-UU Document 1 Entered on FLSD Docket 02/03/2020 Page 7 of 12



 (Version 2.0 of the Web Content Accessibility Guidelines). WCAG 2.1 A provides widely

 accepted guidelines for making apps accessible to individuals with disabilities and compatible with

 screen reader software. These guidelines have been endorsed by the United States Department of

 Justice and numerous U.S. District Courts.

        25.     Plaintiff is legally blind and uses VoiceOver screen reader software (hereinafter,

 “Plaintiff’s software”) in order to access app content. Plaintiff’s software is the most popular screen

 reader software utilized worldwide by visually impaired individuals for Apple tablets and phones.

        26.     Despite attempts, Defendant’s app did not integrate with Plaintiff’s software, nor

 was there any function within the app to permit access for visually impaired individuals through

 other means. Her dining attempts were rendered futile because the app was inaccessible.

 Therefore, Plaintiff was denied the full use and enjoyment of the goods and services available on

 Defendant’s app as a result of access barriers on the app. For example, the Cart is not labeled. The

 main menu icon is labeled as “back button.” When the menu button is pressed, a side menu is

 revealed but focus remains on the menu button and moves forward on the main page, rather than

 onto the side menu. Status messages are not announced.

        27.     Defendant’s app does not meet the WCAG 2.1 A level of accessibility. As to

 WCAG guideline 1.3.1 – Info and Relationships, information, structure, and relationships

 conveyed through presentation should be programmatically determined or also available in text.

 Here, the visible label and the button element are not programmatically related. The label and

 button are read independently of one another and it may not be clear what pressing the button will

 do. As to WCAG guideline 2.4.3 – Focus Order, the app should provide focus in a logical order

 that preserves meaning and operability. Here, when the menu button is pressed a side menu is

 revealed but focus remains on the menu button and moves forward on the main page, rather than



                                                   7
Case 1:20-cv-20494-UU Document 1 Entered on FLSD Docket 02/03/2020 Page 8 of 12



 onto the side menu. As to WCAG guideline 4.1.2 – Name, Role, Value, all elements should be

 built for accessibility. Here, the cart icon is announced only as "button."

         28.    Defendant’s app does not meet the WCAG 2.1 AA level of accessibility. As to

 WCAG guideline 1.3.4 – Orientation, orientation of the app should not be restricted to only portrait

 or landscape unless a specific orientation is required. Here, this application does not support a

 change in orientation. As to WCAG guideline 2.4.6 – Headings and Labels, headings and labels

 should be clear. Here, the menu button is announced as "back button." As to WCAG guideline

 4.1.3 – Status Messages, if a status message is presented and focus is not set to that message then

 the message must be announced to screen reader users. Here, when an item is successfully added

 to the order the number next to the order summary icon is updated, but the user is brought back to

 the main page and no announcement is made about whether the action was successful.

         29.    By failing to adequately design and program its app to accurately and sufficiently

 integrate with VoiceOver, Defendant has discriminated against Plaintiff and others with visual

 impairments on the basis of a disability by denying them full and equal enjoyment of the app, in

 violation of 42 U.S.C. § 12182(a) and C.F.R. § 36.201.

         30.    As a result of Defendant’s discrimination, Plaintiff was unable to use Defendant’s

 app and suffered an injury in fact including loss of dignity, mental anguish and other tangible

 injuries.

         31.    The barriers on the app have caused a denial of Plaintiff’s full and equal access in

 the past, and now deter Plaintiff from attempting to use Defendant’s app.

         32.    If Defendant’s app were accessible, Plaintiff could independently navigate, review

 and purchase food and other products from Defendant’s stores online, as well as utilize the other

 functions on the app.




                                                   8
Case 1:20-cv-20494-UU Document 1 Entered on FLSD Docket 02/03/2020 Page 9 of 12



        33.     Plaintiff believes that although Defendant may have centralized policies regarding

 the maintenance and operation of its app, Defendant has never had a plan or policy that is

 reasonably calculated to make its app fully accessible to, and independently usable by, people with

 visual impairments.

        34.     Without injunctive relief, Plaintiff and other visually impaired individuals will

 continue to be unable to independently use Defendant’s app in violation of their rights under the

 ADA.

                                  SUBSTANTIVE VIOLATION

                         (Title III of the ADA, 42 U.S.C. § 12181 et seq.)

        35.     The allegations contained in the previous paragraphs are incorporated by reference.

        36.     Section 302(a) of Title III of the ADA, 42 U.S.C. § 12101 et seq., provides: “No

 individual shall be discriminated against on the basis of a disability in the full and equal enjoyment

 the goods, facilities, privileges, advantages or accommodations of any place of public

 accommodation by any person who owns, leases (or leases to), or operates a place of public

 accommodation.” 42 U.S.C. § 12182(a).

        37.     Defendant’s stores and accompanying app are public accommodations within the

 definition of Title III of the ADA, 42 U.S.C. § 12181(7)(E).

        38.     Under Section 302(b)(2) of Title III of the ADA, it is unlawful discrimination to

 deny individuals with disabilities the opportunity to participate in or benefit from the goods,

 services, facilities, privileges, advantages or accommodations of an entity. 42 U.S.C. §

 12182(b)(1)(A)(i).

        39.     Under Section 302(b)(2) of Title III of the ADA, it is unlawful discrimination to

 deny individuals with disabilities the opportunity to participate in or benefit from the goods,




                                                   9
Case 1:20-cv-20494-UU Document 1 Entered on FLSD Docket 02/03/2020 Page 10 of 12



  services, facilities, privileges, advantages or accommodations, which is equal to the opportunities

  afforded to other individuals. 42 U.S.C. § 12182(b)(1)(A)(ii).

         40.     Under Section 302(b)(2) of Title III of the ADA, unlawful discrimination also

  includes, among other things:

                 a failure to make reasonable modifications in policies, practices or
                 procedures, when such modifications are necessary to afford such goods,
                 services, facilities, privileges, advantages or accommodations to individuals
                 with disabilities, unless the entity can demonstrate that making such
                 modifications would fundamentally alter the nature of such goods, services,
                 facilities, privileges, advantages or accommodations; and a failure to take
                 such steps as may be necessary to ensure that no individual with a disability
                 is excluded, denied services, segregated or otherwise treated differently
                 than other individuals because of the absence of auxiliary aids and services,
                 unless the entity can demonstrate that taking such steps would
                 fundamentally alter the nature of good, service, facility, privilege,
                 advantage or accommodation being offered or would result in an undue
                 burden.

  42 U.S.C. § 12182(b)(2)(A)(ii) (iii); see also 28 C.F.R. § 36.303(a).

         41.     Title III requires that “[a] public accommodation shall furnish appropriate auxiliary

  aids and services where necessary to ensure effective communication with individuals with

  disabilities.” 28 C.F.R. § 36.303(c)(1). The regulations set forth numerous examples of “auxiliary

  aids and services,” including “…accessible electronic and information technology; or other

  effective methods of making visually delivered materials available to individuals who are blind or

  have low vision.” 28 C.F.R. § 36.303(b).

         42.     The acts alleged herein constitute violations of Title III of the ADA, and the

  regulations promulgated thereunder. Plaintiff, who is legally blind and has a disability that

  substantially limits the major life activity of seeing within the meaning of 42 U.S.C. §§

  12102(1)(A) and (2)(A), has been denied full and equal access to Defendant’s app. Plaintiff has

  not been afforded the goods, services, privileges and advantages that are provided to other patrons



                                                  10
Case 1:20-cv-20494-UU Document 1 Entered on FLSD Docket 02/03/2020 Page 11 of 12



  who are not disabled, and/or has been provided goods, services, privileges and advantages that are

  inferior to those provided to non-disabled persons. These violations are ongoing as Defendant has

  failed to make any prompt and equitable changes to its app and policies in order to remedy its

  discriminatory conduct.

         43.     Pursuant to 42 U.S.C. 12188 and the remedies, procedures and rights set forth and

  incorporated therein, Plaintiff, on behalf of herself and on behalf of others similarly situated

  requests relief as set forth below.

                                        PRAYER FOR RELIEF

         WHEREFORE, Plaintiff, on behalf of herself and others similarly situated prays for:

         a.      A Declaratory Judgment that at the commencement of this action Defendant was in
                 violation of the specific requirements of Title III of the ADA described above, and
                 the relevant implementing regulations of the ADA, in that Defendant took no action
                 that was reasonably calculated to ensure that its app is fully accessible to, and
                 independently usable by, blind individuals;

         b.      A permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR § 36.504
                 (a) which directs Defendant to take all steps necessary to brings its app into full
                 compliance with the requirements set forth in the ADA, and its implementing
                 regulations, so that its app is fully accessible to, and independently usable by, blind
                 individuals, and which further directs that the Court shall retain jurisdiction for a
                 period to be determined to ensure that Defendant has adopted and is following an
                 institutional policy that will in fact cause Defendant to remain fully in compliance
                 with the law;

         c.      Payment of costs of suit;

         d.      Payment of reasonable attorneys’ fees, pursuant to 42 U.S.C. § 12205 and 28 CFR
                 § 36.505; and,

         e.      The provision of whatever other relief the Court deems just, equitable and
                 appropriate.




                                                   11
Case 1:20-cv-20494-UU Document 1 Entered on FLSD Docket 02/03/2020 Page 12 of 12



  Dated: February 3, 2020

                                     Respectfully submitted,

                                     /s/ J. Courtney Cunningham
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                                       12
